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                          Exhibit 3
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Reg. No. 6,400,828              JENKA LAB LLC (GEORGIA LIMITED LIABILITY COMPANY)
                                5044 B U Bowman Dr, #106
Registered Jun. 29, 2021        Buford, GEORGIA 30518
Int. Cl.: 28                    CLASS 28: Gaming machines, namely, slot machines and video lottery terminals
Trademark                       FIRST USE 1-8-2020; IN COMMERCE 7-21-2020
Principal Register              The mark consists of the words "JENKA" and "LAB" with a triangular beaker design
                                located in the middle of the two words; the beaker is half full and there are a small
                                bubble and a bigger bubble in the liquid, three other bubbles inside the beaker but
                                outside the liquid and another two bubbles outside, and above, the beaker.

                                No claim is made to the exclusive right to use the following apart from the mark as
                                shown: "LAB"

                                The wording "JENKA" has no meaning in a foreign language.

                                The name(s), portrait(s), and/or signature(s) shown in the mark does not identify a
                                particular living individual.

                                SER. NO. 90-198,355, FILED 09-22-2020
